                IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA


THE UNITED STATES OF AMERICA,

               Plaintiff,

        and

KUSKOKWIM RIVER INTER-TRIBAL              Case No. 1:22-cv-00054-SLG
FISH COMMISSION, et al.

               Intervenor Plaintiffs

         v.

THE STATE OF ALASKA, et al.,

               Defendant.


                      AMENDED SCHEDULING ORDER

     Based on the parties’ joint request, the Scheduling and Planning Order in

this matter is AMENDED as follows:

     United States’ Motion for Summary Judgment             July 21, 2023

     Intervenors’ Motions for Summary Judgment              July 28, 2023

     Alaska’s Combined Opposition to Motions for Summary September 1, 2023
     Judgement and Motion for Summary Judgment

     United States’ Reply in Support of Motion for Summary Sept. 29, 2023
     Judgment and Opposition to the State’s Motion for
     Summary Judgment

     Intervenors’ Replies in Support of Motions for Summary Oct. 6, 2023
     Judgment and Oppositions to the State’s Motion for
     Summary Judgment

     Alaska’s Combined Reply in Support of Motion for      Oct. 27, 2023
     Summary Judgment

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      The Court will schedule Oral Argument when briefing has been completed.

Discovery is stayed pending the Court’s rulings on the forthcoming cross-motions

for summary judgment.


      DATED this 19th day of May 2023, at Anchorage, Alaska.

                                           /s/ Sharon L. Gleason
                                           UNITED STATES DISTRICT JUDGE




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